Case 2:05-cr-20280-.]PI\/| Document 31 Filed 08/24/05 Page 1 of 2 Page|D 34
IN THE UNITED STATES DISTRlCT COURT

FOR THE WESTERN DISTRICT OF TENNESSEE F"‘ED BY '"--' °'c'
WESTERN DIVISION
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i“.-",@ CBF `.’ MH;S
V. Cr. No. 05-20280-05-D

TANYA W. FIELDS

ORDER SPECIFYING PERIOD OF
DELAY EXCLUDABLE UNDER SPEEDY TRIAL ACT
The United States Attorney in this case advised the defendant has been arrested elsewhere
and requested a continuance to locate the defendant Pursuant to the Speedy Trial Act, as set out

in 18 U.S.C. § 3 161(h)(3)(A) the court may grant the defendant a period of excludable delay to serve
the ends of justice, if the defendant is unavailable or absent
IT IS THEREFORE ORDERED that the time period of August 24, 2005 through August 31,
2005 be excluded from the time limits imposed by the Speedy Trial Act for trial of this case.
ARRAIGNMENT IS RESET TO WEDNESDAY, August 31, 2005 at 10:00 a.m.

BEFORE MAGISTRA'I`E JUDGE ANDERSON.

gww@,

UN.[TED STATES MAGISTRATE JUDGE

DATE: Jf'Z !-. of

This document entered on the docket sh t in compliance
with Rule 55 and/or 32(b) FRch on j "é,j'@$

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Notice of Distribution

This notice confirms a copy of the document docketed as number 31 in
case 2:05-CR-20280 Was distributed by faX, mail, or direct printing on
August 25, 2005 to the parties listed.

 

 

Camille Reese Mcl\/lullen
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167 N. Main St.

Ste. 800

l\/lemphis7 TN 38103

Honorable Bernice Donald
US DISTRICT COURT

